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                                UNITED STATES DISTRICT COURT
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                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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      WAYMO LLC,                                   CASE NO. 3:17-cv-00939-WHA

                   Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                PLAINTIFF WAYMO LLC’S
          vs.                                      ADMINISTRATIVE MOTION TO FILE
                                                UNDER SEAL PORTIONS OF ITS
    UBER TECHNOLOGIES, INC.;                       LETTER BRIEF TO COMPEL
 OTTOMOTTO LLC; OTTO TRUCKING                   PRODUCTION OF MATERIALS
    LLC,                                           WITHHELD BY ANTHONY
                                                LEVANDOWSKI UNDER THE FIFTH
              Defendants.                          AMENDMENT AND EXHIBITS 3, 4, AND
                                                5 THERETO
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                                   [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 595-2 Filed 06/12/17 Page 2 of 2




 1          Plaintiff Waymo LLC (“Waymo”) has filed an Administrative Motion to File Under Seal

 2 Portions of its Letter Brief to Compel Production of Materials Withheld by Anthony Levandowski

 3 Under the Fifth Amendment (the “Letter Brief”) and exhibits 3, 4, and 5 thereto (“Administrative

 4 Motion”).

 5          Having considered the Administrative Motion, and good cause to seal having been shown,

 6 the Court GRANTS Waymo’s Administrative Motion and ORDERS sealed the documents listed

 7 below:

 8                              Document            Portions to Be Filed Under
                                                                Seal
 9                      Letter Brief                Highlighted Portions
10                      Exhibits 3, 4, and 5        Entire Documents

11
            IT IS SO ORDERED.
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     Dated: ______________, 2017
14
                                           HON. WILLIAM ALSUP
15                                         United States District Court Judge
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                                     [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
